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                    COMMONWEALTH OF MASSACHUSETTS

    SUFFOLK, SS.                            SUPERIOR COURT
                                            CRIMINAL DIVISION
                                            NO. 2013-11163




                                               :
    COMMONWEALTH OF MASSACHUSETTS,             :
            Plaintiff,                         :
                                               :
           -vs-                                :
                                               :
    EDWIN ALEMANY,                             :
              Defendant.                       :




                           PRETRIAL MOTIONS




          BEFORE:     The Honorable Frank Gaziano
                      May 6, 2015
                      Suffolk Superior Court
                      Three Pemberton Square, Room 806
                      Boston, MA 02108




              CAROL A. LAVALLEE, OFFICIAL COURT REPORTER
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                            APPEARANCES




          John Pappas, Assistant District Attorney
          Zachary Hillman, Assistant District Attorney
          Suffolk County District Attorney's Office
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          Boston, Massachusetts 02114
               On behalf of the Commonwealth.

          Jeffrey A. Denner, Esquire
          Joseph Keller, Esquire
          Jeffrey Denner Associates, P.C.
          4 Longfellow Place
          Boston, Massachusetts 02114
               On behalf of the Defendant.

          Michelle Hubbard, Esquire
          132 Boylston Street
          Boston, Massachusetts 02116
               On behalf of the Defendant.
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 1

 2

 3                                PRETRIAL MOTIONS

 4                                   May 6, 2015

 5

 6                          THE COURT OFFICER: All rise.

 7                          Courtroom 806 is now open.       The
 8             Honorable Judge Frank Gaziano presiding.            Please

 9             be seated.

10                          THE CLERK: Good morning.

11                          For the record, before the Court is the

12             matter of the Commonwealth vs. Edwin Alemany.            Mr.

13             Alemany is present with his counsel Jeffrey

14             Denner, Michelle Hubbard and Joseph Keller.             The

15             Commonwealth is represented by Assistant District

16             Attorney John Pappas and Assistant District
17             Attorney Zachary Hillman.       The matter is marked

18             today for a final pretrial hearing.

19                          THE COURT: Counsel, good morning.

20                          COUNSEL: Good morning, Your Honor.

21                          THE COURT: So I want to go over any

22             motions in limine, any issues that are going to

23             take us into the trial on the 18th, as well as the

24             scheduling.

25                          As far as the scheduling goes we’re
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 1             scheduled for the 18th.      What is the

 2             Commonwealth’s prediction as far as length of

 3             trial?

 4                         MR. PAPPAS: I think it’s going to be

 5             predicated in part, Your Honor, on the number of

 6             incidents that we actually move for trial on.

 7             There remains the possibility -- there are three
 8             dates in question: July 23rd and July 24th of 2013,

 9             and there was another incident, a separate

10             incident that occurred on September 8th of 2012.

11             I’m still waiting to see our expert’s report, Mr.

12             Ablow’s report, who is the expert for Mr. Alemany,

13             to see how that particular September 28, 2012

14             issue is addressed.      If we don’t move forward on

15             that particular incident I think it will shorten

16             the case somewhat for the Commonwealth.          But, in
17             any event, Your Honor, I would expect after we

18             have a jury for our case in chief to take seven to

19             ten trial days.

20                         THE COURT: Thank you, Mr. Pappas.

21                         Mr. Denner.

22                         MR. DENNER: Good morning, Your Honor.

23             I don’t think other than Dr. Ablow and perhaps,

24             perhaps two or three very short witnesses in

25             relation to Dr. Ablow’s testimony, family, friends
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 1             who would corroborate something he said, I don’t

 2             think the defense case will take more than a day

 3             and a half tops.

 4                         And with regard to the particular

 5             incident, the earlier incident, I don’t think

 6             that’s going to be at all central to Dr. Ablow’s

 7             report.    So even if it were contained in the
 8             report and the Commonwealth decided not to go

 9             forward on it I simply wouldn’t, I simply wouldn’t

10             talk to Dr. Ablow of that particular incident on

11             my examination of him.

12                         THE COURT: All right.       Thank you,

13             counsel.

14                         What are the anticipated motions in

15             limine, Mr. Pappas, and then I’ll get to Mr.

16             Denner?
17                         MR. PAPPAS: I’ll just go to the front,

18             Your Honor.     We have a motion to run criminal

19             history records of jurors.

20                         MR. DENNER: Your Honor, I’m having some

21             difficulty hearing.

22                         THE COURT: Right, we have some

23             competition with the construction.         If you want to

24             step back perhaps.

25                         MR. PAPPAS: I will, Your Honor.
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 1                         THE COURT REPORTER: I’m just going to

 2             turn the podium mic on?

 3                         THE COURT: Sure.

 4                         THE COURT REPORTER: Thank you, Your

 5             Honor.

 6                         THE COURT: You’re welcome.

 7                         Mr. Pappas.
 8                         MR. PAPPAS: One motion, Your Honor,

 9             being to ask the Court’s permission to run

10             criminal history checks of jurors.

11                         A motion for a view, Your Honor.

12                         A motion in limine to admit crime scene

13             video.

14                         A motion in limine regarding photographs

15             of the victim.

16                         Motion in limine to be permitted to use
17             certain exhibits and chalks during view opening

18             and/or opening statement.

19                         Motion in limine regarding demonstrative

20             charts and diagrams, Your Honor.         In particular,

21             probably those used at autopsy.

22                         Motion in limine to exempt victims,

23             family members of victims and investigating

24             officers from the general order of sequestration.

25                         Motion in limine to allow introduction
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 1             of autopsy photographs of victim Amy Lord.

 2                         Included in our motions in limine, Your

 3             Honor, will be a motion for proposed individual

 4             questions for purposes of jury impanelment.

 5                         A motion in limine to admit 911 calls,

 6             Your Honor.

 7                         The Commonwealth’s motion in limine to
 8             admit victim Alexandra Cruz’s statement to Boston

 9             police officer Daniel Pusey.

10                         And Commonwealth’s motion in limine to

11             admit text messages between two individuals.

12             Those individuals being Kelley Ryan and Kristen

13             Lasorsa.

14                         Those are the ones we anticipate filing

15             right now, Your Honor.       I would ask the Court’s

16             permission that to the extent we seek to add on to
17             that we notify Mr. Curley.

18                         THE COURT: All right.       Thank you, Mr.

19             Pappas.

20                         Mr. Denner.

21                         MR. DENNER: Yes, sir.       In terms of the

22             motions that we are going to file or anticipate

23             filing versus the oppositions we are going to have

24             to be (inaudible)

25                         We will also have our proposed voir dire
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                                                              Alemany - 8

 1             questions for the jury and individual questioning

 2             of the jury.

 3                         We will have certain motions in limine

 4             related to the photographs that we think should

 5             and shouldn’t come in.

 6                         We will have certain motions in limine

 7             we expect about the diagrams and charts that they
 8             are going to be seeking to introduce.

 9                         But, other than that, the only other

10             issue that remains for us is it has come to my

11             attention from our expert witness in his further,

12             the psychiatric expert witness Dr. Ablow, in his

13             further evaluations of the defendant recently that

14             he has some questions about the competence of this

15             particular defendant to actually stand trial right

16             now and for us to be able to effectively represent
17             him.   I will be talking to him more about that

18             today.

19                         If we are going to be setting up another

20             time to argue these motions sometime prior to the

21             actual impanelment of the jury, which I suspect we

22             will, I would be proposing that within the next

23             literally 48 hours if I am going to, based on my

24             conversations with Dr. Ablow, be raising the issue

25             of his competence to stand trial, that we would
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 1             file that within 48 hours presumably.          Again, I

 2             don’t speak for the Commonwealth obviously, but I

 3             would expect that they would want Dr. Kelly, or

 4             something that’s formally proposed to do an

 5             evaluation, either seeing him again or not,

 6             relative to competence to stand trial.          And I

 7             would hope that on the day that we were having the
 8             motion in limine is heard if the Court felt it was

 9             necessary to have a relatively short hearing on

10             competence that that happened that day as well.

11                         THE COURT: Okay.      As far as that goes

12             when can we realistically have the hearing?             Maybe

13             we don’t have to have one, but as far as

14             competency on motions in limine.         I have a jury-

15             waived trial that’s going to take place May 12 and

16             13.
17                         MR. DENNER: Is Your Honor thinking that

18             May 18th is the day that we will impanel?

19                         THE COURT: Right.      I mean, we have some

20             flexibility.     We could do motions in limine on the

21             18th, as well.    Is that?

22                         MR. PAPPAS: If – I’m sorry, Your Honor.

23                         THE COURT: No.     I mean, it’s up to you

24             folks.    I’m blocking out three weeks for this

25             case.
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 1                       MR. PAPPAS: If the Court is available,

 2          Your Honor, our preference having heard about the

 3          competency issue for the first time about ten

 4          minutes ago, I would prefer, it would be our

 5          preference to do motions in limine on either the

 6          12th or 13th and take up the competency issue on

 7          that date.
 8                       I can notify Dr. Kelly today.       I’m very

 9          anxious, the Commonwealth is very anxious to get

10          Dr. Ablow’s report.      We’re promised, we were

11          promised it was going to be filed yesterday.            That

12          hasn’t been the case.      My understanding is Dr.

13          Kelly’s report is in the clerk’s office; it has

14          been filed.

15                       THE COURT: It has.

16                       MR. PAPPAS: And we’re anxious to receive
17          Dr. Ablow’s report so we can address this

18          competency issue and get this case out of the box.

19                       THE COURT: All right.

20                       MR. DENNER: We will have Dr. Ablow’s

21          report.   I was out of state until this morning.

22          We will have it.     We have not seen Dr. Kelly’s

23          report either.     But we will have Dr. Ablow’s

24          report by the close of business today.

25                       THE COURT: Well, let me ask you, Mr.
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                                                         Alemany - 11

 1          Denner, are you going to assent to releasing both

 2          reports?

 3                      MR. DENNER: Yes.     Yes, Your Honor.

 4                      THE COURT: Okay.

 5                      MR. DENNER: And Dr. Ablow’s report does

 6          not address the issue of competence.

 7                      THE COURT: Right.
 8                      MR. DENNER: It will be a separate thing.

 9                      THE COURT: Let’s do this then.        Let’s

10          schedule for, let’s schedule for motions in limine

11          on the 14th.

12                      MR. DENNER: Will that be at 9 o’clock,

13          Your Honor?

14                      THE COURT:    Yes.

15                      MR. DENNER: Your Honor, does that

16          include the motions that might be filed on the
17          issue of competence?

18                      THE COURT: Yes, I want to resolve

19          everything on the 14th.      Motions in limine, and if

20          there’s a competency issue, which, of course, is a

21          live issue that I can raise.       But if there’s a

22          competency issue that counsel want to bring to my

23          attention I’d like to have a motion filed on the

24          14th so I can take some testimony on that issue,

25          if need be.    All right?
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                                                         Alemany - 12

 1                      MR. PAPPAS: Your Honor, can I coordinate

 2          with Mr. Curley?     I’ll check today with Dr. Kelly

 3          about his availability for the 14th in the event

 4          he’s needed.

 5                      THE COURT: Okay, okay.

 6                      Has he ever been examined for

 7          competency?
 8                      MR. DENNER: Not by us, Your Honor.

 9                      THE COURT: Fine.

10                      You both have asked for individual voir

11          dire which under the Sagan case you certainly have

12          a right to.    I’m going to grant you for the

13          individual voir dire.

14                      I’m not hearing requests for an attorney

15          conducted voir dire.      Is that something that

16          counsel have considered and decided not to do?
17                      MR. DENNER: No, Your Honor.       I would, in

18          our motion in limine it would be for counsel voir

19          dire, particularly in a case like this with using

20          a criminal responsibility defense, which is

21          generally a pretty disfavored defense to be able

22          to try to connect with the jury.

23                      THE COURT: And what I would do in that

24          instance, I have an obligation under the case law

25          to conduct a voir dire, an individual voir dire on
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 1          Sagan issues.     There’s pretrial publicity, I would

 2          imagine, which I’d inquire about.        So what I would

 3          propose is that I will conduct my own individual

 4          voir dire on those topics and then counsel can

 5          question on those topics or any other topics that

 6          they bring to my attention.       So we’ll do a hybrid.

 7          I’ll ask my questions and then you folks can ask
 8          your questions.

 9                      And you’ve impaneled, both of you have

10          impaneled with me.     We’ll do it at the table.

11          I’ll ask the general questions of the jury pool.

12          We’ll bring the jurors in just like in other

13          cases.   We’ll bring the jury in, and jurors

14          individually, of course in open courtroom, and

15          then I’ll conduct the questioning and you folks

16          conduct the questioning.
17                      Under a standing order on an attorney

18          conducted voir dire the government goes first and

19          the government exercises all its challenges first,

20          as well.

21                      We will seat 16 jurors.      I’ll probably

22          tell them the case is going to take two and a half

23          weeks because it might take us a few days to

24          impanel.

25                      As far as the motions go if you could
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                                                         Alemany - 14

 1          file them, or let me ask counsel is Monday, the

 2          11th, realistic to file motions in limine?

 3                      MR. PAPPAS: It is for the government,

 4          Your Honor.

 5                      MR. DENNER: By the end of the day, that

 6          day, yes, Your Honor.

 7                      THE COURT: Okay.     And I’ll take any
 8          oppositions on the 12th.

 9                      MR. DENNER: Your Honor, with regard to

10          the oppositions, if we don’t see their motions

11          until the end of the day Monday or whatever, I

12          might have some difficulty filing oppositions.

13                      THE COURT: I’ll give you the 13th.          And

14          frankly, the ones I’ve seen, the motions that

15          you’ve both talked to me about, there’s nothing

16          that’s out of the ordinary, to tell you the truth.
17          So I don’t think you are going to have any trouble

18          filing oppositions.      But I’ll give you until the

19          13th.

20                      MR. DENNER: Thank you.

21                      THE COURT: Anything else, Mr. Pappas,

22          for the government before the 14th?

23                      MR. PAPPAS: No, not from the government.

24                      MR. DENNER: No, sir.

25                      THE COURT: Okay.     We’ll see everybody on
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 1          the 14th.   Thank you very much.

 2                      COUNSEL: Thank you.

 3                      THE COURT OFFICER: All rise.

 4                      THE CLERK: The case is continued until

 5          May 14th at 9 a.m. for motions.

 6                      THE COURT OFFICER: This Court stands in

 7          recess.
 8                            (WHEREUPON, the proceeding is

 9                            suspended for the day.)

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1
                              CERTIFICATION




     COMMONWEALTH OF MASSACHUSETTS

     WORCESTER, SS.


                 I, CAROL A. LAVALLEE, A PROFESSIONAL COURT

     REPORTER IN AND FOR THE COMMONWEALTH OF MASSACHUSETTS,

     DO HEREBY CERTIFY THAT THE FOREGOING TRANSCRIPT, PAGES

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     PRESENTED AT BOSTON, MASSACHUSETTS, BEFORE THE

     HONORABLE FRANK GAZIANO, ON MAY 4. 2015, TO THE BEST OF

     MY SKILL, KNOWLEDGE AND ABILITY.




                             CAROL A. LAVALLEE,
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